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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

  DAVID DELL’AQUILA, LORANNDA                     )
  BORJA, TODD CHESNEY, and BRENT                  )
  WEBER, on behalf of themselves and all          )
  others similarly situated,                      )
                                                  )       NO. 3:19-cv-00679
          Plaintiffs,                             )
                                                  )       JUDGE CAMPBELL
  v.                                              )
                                                  )       MAGISTRATE JUDGE FRENSLEY
  WAYNE LaPIERRE, NATIONAL                        )
  RIFLE ASSOCIATION OF AMERICA,                   )
  and NRA FOUNDATION, INC.                        )
                                                  )
          Defendants.                             )


                                           MEMORANDUM

          Pending before the Court are motions to dismiss the Second Amended Complaint (Doc.

  No. 43) filed separately by each of the three defendants: the National Rifle Association of America

  (“NRA”), the NRA Foundation, Inc., and Wayne LaPierre (Doc. Nos. 46, 48, 50). Plaintiffs filed

  a consolidated response. (Doc. No. 53). Defendants each filed a separate reply. (Doc. Nos. 60, 61,

  62). For the reasons stated below, the NRA Foundation’s and Wayne LaPierre’s motions to

  dismiss will be GRANTED; and the NRA’s motion to dismiss will be GRANTED in part,

  DENIED in part.

                                      I.     BACKGROUND

          Plaintiffs allege the NRA, NRA Foundation, and NRA CEO Wayne LaPierre, fraudulently

  solicited membership and donations by claiming membership fees and donations would be used to

  advance the mission of the NRA, and that the organizations used a significant portion of the funds

                                                      EXHIBIT
                                                        UST 3



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  for purposes unrelated to that mission. Plaintiffs bring claims for fraud and violation of the

  Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961, et seq.

          Defendants seek to dismiss all claims, arguing that Plaintiffs lack standing to challenge

  internal administration of unrestricted funds, have not pleaded the claims with sufficient

  particularity to satisfy the requirements of Rule 9 of the Federal Rules of Civil Procedure, and have

  not plausibly alleged the elements of the fraud and RICO claims.

                                  II.     STANDARD OF REVIEW

          For purposes of a motion to dismiss, the Court must take all of the factual allegations in

  the complaint as true as the Court has done above. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To

  survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

  to state a claim to relief that is plausible on its face. Id. A claim has facial plausibility when the

  plaintiff pleads factual content that allows the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged. Id. Threadbare recitals of the elements of a cause

  of action, supported by mere conclusory statements, do not suffice. Id. When there are well-

  pleaded factual allegations, a court should assume their veracity and then determine whether they

  plausibly give rise to an entitlement to relief. Id. at 679. A legal conclusion, including one couched

  as a factual allegation, need not be accepted as true on a motion to dismiss, nor are mere recitations

  of the elements of a cause of action sufficient. Id. at 678; Fritz v. Charter Twp. of Comstock, 592

  F.3d 718, 722 (6th Cir. 2010); Abriq v. Hall, 295 F. Supp. 3d 874, 877 (M.D. Tenn. 2018).

  Moreover, factual allegations that are merely consistent with the defendant’s liability do not satisfy

  the claimant’s burden, as mere consistency does not establish plausibility of entitlement to relief

  even if it supports the possibility of relief. Iqbal, 556 U.S. at 678.




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          In determining whether a complaint is sufficient under the standards of Iqbal and its

  predecessor and complementary case, Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), it may

  be appropriate to “begin [the] analysis by identifying the allegations in the complaint that are not

  entitled to the assumption of truth.” Iqbal, 556 U.S. at 680. Identifying and setting aside such

  allegations is crucial, because they simply do not count toward the plaintiff’s goal of showing

  plausibility of entitlement to relief. As suggested above, such allegations include “bare assertions,”

  formulaic recitation of the elements, and “conclusory” or “bald” allegations. Id. at 681. The

  question is whether the remaining allegations – factual allegations, i.e., allegations of factual

  matter – plausibly suggest an entitlement to relief. Id. If not, the pleading fails to meet the standard

  of Fed. R. Civ. P. 8 and thus must be dismissed under Rule 12(b)(6). Id. at 683.

                                             III.    ANALYSIS

  A. Standing

          Defendants argue Plaintiffs lack standing to challenge the non-profits’ authority to act or

  administration of unrestricted donations. 1 Defendants characterize Plaintiffs’ claims as

  challenging the authority of the NRA or NRA Foundation to spend funds for purposes unrelated

  to the mission of the NRA. Defendant argue that state law limits those who can challenge nonprofit

  corporate action to the state attorney general or certain individuals filing suit on behalf of the

  corporation. 2




  1
           Although each of the Defendants filed a separate motion to dismiss, the arguments on standing vary
  only slightly. Accordingly, the Court addresses the arguments together and refers to the arguments
  collectively.
  2
           The NRA Foundation cites Tennessee state law governing non-profit corporations – Tenn. Code
  Ann. § 48-53-104. The NRA and LaPierre cite New York law – New York Not-for-Profit Corporation Law
  § 720. Because of the disposition of this issue, the Court need not resolve the question of which state’s law
  applies.


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         Plaintiffs correctly argue that these state statutes do not govern the fraud claims asserted

  here against the corporations or LaPierre. Though the claims presented involve representations

  regarding the organizations’ use of funds, Plaintiffs are not, in fact, “challenging the administration

  of funds” or seeking to undo any other corporate act. The claims asserted here are that Plaintiffs’

  donations and membership dues to the NRA and NRA Foundation were procured by fraudulent

  misrepresentations regarding the use of the donated funds and Plaintiffs seek to recover the funds

  that they personally donated. Moreover, Plaintiffs claim that they were personally defrauded meets

  the requirements for standing under Article III, which requires: (1) “an injury in fact”; (2) “a causal

  connection” between the alleged injury and the defendants’ conduct; and (3) redressability – that

  the injury will “likely … be redressed by a favorable decision.” Wall v. Mich. Rental, 852 F.3d

  492, 495 (6th Cir. 2017) (citing Lujan v. Def. of Wildlife, 504 U.S. 555, 560-61 (1992)).

         Defendants cite Wilding v. DNC Servs. Corp., No. 16-61511-CIV, 2017 WL 6345492 (S.D.

  Fla. Aug. 25, 2017), for the proposition that “donating to an organization does not, of itself, create

  a legally protected interest in the organization’s operations.” (Doc. No. 47 at 7; Doc. No. 49 at 7;

  Doc. No. 51 at 6). In Wilding, donors to the Democratic National Committee (“DNC”) and Bernie

  Sanders’s campaign brought claims of fraud alleging they donated to the DNC in reliance on the

  DNC’s promise of neutrality in the presidential primaries and that the DNC was, in fact, not neutral

  because it favored Hillary Clinton over Bernie Sanders. Id. at *3. The Wilding court noted that the

  plaintiffs were not entitled to challenge DNC’s conduct of its internal affairs by virtue of being

  donors. However, the court also recognized that a donor may suffer “cognizable injury from the

  violation of an independent duty, such as if the donation was procured by fraud.” Id. at *5. In

  Wilding, the court ultimately held that plaintiffs did not have standing to assert their fraud claim

  because they had not alleged a causal connection between the defendant’s statements and their



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  injury – none of the plaintiffs claimed to have read or heard the promises of neutrality before

  making their donations. Id. at *4. Nothing in the court’s reasoning in Wilding supports Defendants’

  argument that the cited state statutes eliminate Plaintiffs’ standing to bring a claim for fraud.

  B. Fraud

          Without discussion, the parties assume Tennessee law applies to the fraud claims in this

  case. (See Doc. No. 47 at 10; Doc. No. 49 at 12; Doc. No. 51 at 12; Doc. No. 54 at 11). A federal

  court sitting in diversity applies the choice of law rules of the forum state. In re Air Crash Disaster,

  86 F.3d 498, 540-41 (6th Cir. 1996) (citing Klaxton Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487,

  496 (1941)). Tennessee applies the “most significant relationship” test of the Restatement (Second)

  Conflict of Laws to choice-of-law questions for tort claims. Orlowski v. Bates, 146 F.Supp. 3d

  908, 921 (W.D. Tenn. 2015). The most significant relationship is determined by examining: (1)

  the place of the alleged injury; (2) the place where the conduct causing the injury occurred; (3) the

  domicile and/or place of business of the parties involved; and (4) the place where the relationship

  of the parties is centered. Glennon v. Dean Witter Reynolds, Inc., 83 F.3d 132, 136 (6th Cir. 1996).

          It is not readily apparent that Tennessee has the most significant relationship to the claims

  brought by residents of Tennessee, Kansas, and Arizona based on statements made by Defendants

  in New York and Washington, D.C. However, none of the parties has identified material

  differences between the law of Tennessee and that of the other states; nor have any of the parties

  argued that the Court should apply some law other than that of Tennessee to the fraud claim.

  Accordingly, the Court will not undertake such analysis sua sponte and will assume for purposes

  of the motion to dismiss that Tennessee law applies to the fraud claims.

          To establish a claim for fraud in Tennessee, a plaintiff must allege facts showing that: (1)

  the defendant made a representation of an existing or past fact; (2) the representation was false



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  when made; (3) the representation was in regard to a material fact; (4) the false representation was

  made either knowingly or without belief in its truth or recklessly; (5) plaintiff reasonably relied on

  the misrepresented material fact; and (6) plaintiff suffered damage as a result of the

  misrepresentation. Walker v. Sunrise Pontiac-GMC Truck, Inc., 249 S.W.3d 301, 311 (Tenn.

  2008). If the alleged fraudulent representation is with regard to a future action, a plaintiff must

  demonstrate that “a promise or representation was made with the intent not to perform.” Shah v.

  Racetrac Petroleum Co., 338 F.3d 557, 567 (6th Cir. 2003) (citing Fowler v. Happy Goodman

  Fam., 575 S.W.2d 496, 499 (Tenn. 1978)).

         Rule 9(b) of the Federal Rules of Civil Procedure requires that, when pleading fraud, “a

  party must state with particularity the circumstances constituting fraud.” While Rule 9(b) imposes

  a heightened standard, “Rule 9(b) exists predominantly for the same purpose as Rule 8: to provide

  a defendant fair notice of the substance of a plaintiff's claim in order that the defendant may prepare

  a responsive pleading. Rule 9(b), however, also reflects the rulemakers’ additional understanding

  that, in cases involving fraud and mistake, a more specific form of notice is necessary to permit a

  defendant to draft a responsive pleading.” United States ex rel. SNAPP, Inc. v. Ford Motor Co.,

  532 F.3d 496, 504 (6th Cir. 2008) (internal quotations and citations omitted). “So long as a

  [plaintiff] pleads sufficient detail—in terms of time, place, and content, the nature of a defendant’s

  fraudulent scheme, and the injury resulting from the fraud—to allow the defendant to prepare a

  responsive pleading, the requirements of Rule 9(b) will generally be met.” Id.




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         1. The NRA Foundation

         The NRA Foundation argues Plaintiffs have failed to satisfy the heightened pleading

  requirements of Rule 9(b). The Foundation argues that Plaintiffs have not identified the “time,

  place, and content” of any specific solicitations that they claim to be fraudulent. Without such

  detail, the Foundation argues they cannot respond to the allegations. In addition, the Foundation

  argues that the specific statements on its website are not themselves solicitations and, even if they

  were, do not contain any promises regarding the exclusive use of donated funds.

         The Court agrees that details of the alleged fraudulent solicitations by the Foundation are

  sparse. The Second Amended Complaint makes the following allegations:

           79. During the period from November 30, 2015 to January 26, 2019,
               Defendants LaPierre and the NRA Foundation solicited funds from Plaintiff
               Dell’Aquila and each member of the NRA Foundation Class.

           80. When soliciting such funds, Defendants LaPierre and the NRA Foundation
               advised Plaintiffs that their funds would be used be used for gun safety
               education; to promote shooting sports and hunter safety; to foster wildlife
               conservation; and to protect gun ownership rights in the United States
               (collectively, the “NRA’s core mission”).

           81. Plaintiff Dell’Aquila and each member of the NRA Foundation Class
               reasonably relied upon the statements made by Defendants concerning the
               proposed use of the solicited funds.

           82. As a result of such reliance, Plaintiff Dell’Aquila and each member of the
               NRA Foundation Class donated funds to the NRA Foundation during the
               time period from November 30, 2015 to January 26, 2019.

           83. Defendants’ statements concerning the use of the solicited funds were
               materially and intentionally false. In reality, the NRA Foundation used the
               solicited funds for alternative purposes, including without limitation, the
               following: [list].

  (Doc. No. 43, ¶¶ 79-82).

         While the alleged fraudulent scheme is explained, the allegations regarding the solicitations

  themselves are completely devoid of detail, particularly allegations of time and place of the alleged


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  fraudulent solicitations. Plaintiffs allege that during a period of time spanning more than three

  years, the Foundation solicited donations in some unidentified manner. This does not meet the

  particularity requirements of Rule 9(b), which requires plaintiffs to allege, at a minimum, the

  “time, place, and content” of the alleged misrepresentations.

          Plaintiffs argue that they specifically pleaded allegedly fraudulent statements made by the

  NRA Foundation as published on its website. (Doc. No. 54 at 15 (citing Doc. No. 43, ¶¶ 11-34)).

  The cited portion of the complaint alleges that during the relevant time period, the NRA

  Foundation published statements on its website including: a description of the NRA Foundation

  mission (¶¶ 17-18); the “general focus of Foundation grants” (¶19); and a “Donor Bill of Rights”

  that affirms the right “to expect the board to exercise prudent judgment in its stewardship

  responsibilities” and “to be assured your gifts will be used for the purposes for which they are

  given” (¶ 20). 3 Even if these statements were construed to make a false statement of material fact

  – and it is not clear that they can be so construed – the allegations do not connect the “solicitation”

  with the statements on the website. In fact, Plaintiffs do not make any allegation that the NRA

  Foundation solicited funds via the website.

          Accordingly, the claims against the NRA Foundation will be dismissed for failure to meet

  the pleading requirements of Rule 9(b).

          2. The NRA

          Plaintiffs allege the NRA solicited funds with the promise to use those funds “to advance

  the mission of the NRA” and that instead of spending the donated funds for that purpose, the NRA

  and LaPierre used significant portions of the funds for purposes entirely unrelated to the NRA’s


  3
           Plaintiffs also allege that the NRA Office of Advancement sent Dell’Aquila letters reminding him
  of his “next scheduled gift” on at least three occasions. (Id., ¶¶ 28, 29, 31). It is not clear whether the Office
  of Advancement is part of the NRA Foundation or the NRA. Assuming these letters were sent by the NRA
  Foundation, Plaintiff does not explain how the “reminders” constitute a fraudulent misrepresentation.

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  mission. (Doc. No. 43, ¶¶ 69-77). Plaintiffs state that the “NRA core mission” is “gun safety

  education; to promote shooting sports and hunter safety; to foster wildlife conservation; and to

  protect gun ownership rights in the United States.” (Id., ¶ 71). Plaintiffs do not point to an “NRA

  mission statement” per se, but allege that during the relevant period, the NRA website contained

  statements articulating the mission of the NRA and its use of donated funds as follows:

           WHAT IS THE NRA?

           The NRA is America’s preeminent gun rights organization, made up of nearly
           five million members. Together, we fight and win the toughest battles for the
           Second Amendment, all while offering the best firearms educational programs
           in the country.

           Every day, the NRA fights back against politicians, judges, and bureaucrats who
           want to regulate, restrict, and ultimately, destroy your Second Amendment
           freedom.

           That’s why you need to join the NRA RIGHT NOW.

           ***

           How does the NRA use my membership dues?

           Your support will help us defend your Second Amendment freedom whenever
           and wherever it comes under attack. In addition, your membership dues will help
           the NRA cultivate the next generation of sportsmen and women through our
           youth firearms trainings…empower women with our self-defense
           programs…and support our police officers with our world-class law-
           enforcement training programs.

  (Doc. No. 43, ¶¶ 11, 13).

         In addition, the NRA provided the following Uniform Disclosure Statement to members

  via its website and by mail:

           On behalf of The National Rifle Association of America, Inc. (NRA), 11250
           Waples Mill Road, Fairfax, Virginia, 22030, this charitable solicitation is being
           made by the NRA. Contributions raised will be used to advance the mission of
           the NRA.




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  (Doc. No. 43, ¶ 14). Plaintiffs allege the NRA sent a membership renewal notification to members

  each year and that the renewal notice included the Uniform Disclosure Statement. (Id., ¶ 34).

         Plaintiffs allege the NRA used donated funds for purposes unrelated to the NRA’s core

  mission by:

         a. making inflated payments to its advertising agency, Ackerman McQueen, without
            obtaining documentation justifying such expense.

         b. spending over $97,000 per day for the legal services of William A. Brewer, III during
            the first quarter of 2019;

         c. spending approximately $2 million per month for the legal services of the Brewer Law
            Firm, over a thirteen-month period;

         d. spending $274,695 for clothing purchases for Defendant LaPierre from a Beverly Hills
            clothing store -- through payments made to Ackerman McQueen;

         e. spending $243,644 on luxury travel for Defendant LaPierre to the Bahamas, Palm
            Beach, Los Angeles, Reno, Budapest, and Italy -- through payments made to Ackerman
            McQueen;

         f. spending $5,446.16 per month for a luxury apartment for Megan Allen, an intern in
            Fairfax, Virginia;

         g. spending tens of thousands of dollars on hair and make-up expenses for Wayne
            LaPierre’s wife;

         h. spending funds to investigate the purchase of a $6 million mansion for Wayne LaPierre
            on a lake and golf course near Dallas, Texas;

         i. paying for private jets to fly Wayne LaPierre's relatives in April 2017;

         j. paying for private jet travel for Wayne LaPierre on a regular basis.

         k. promoting Josh Powell to Executive Director of General Operations, after the NRA
            settled two separate sexual harassment suits against Mr. Powell.

  (Doc. No. 43, ¶ 74).

         The NRA argues Plaintiffs have not pleaded facts to establish any of the elements of fraud:

  falsity, knowledge and intent, reliance, and injury. First, the NRA argues that the statement that

  the funds would be used to advance the mission of the NRA was not false because it did not claim


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  the funds would be used “exclusively (or even mostly)” to advance the mission of the NRA. The

  NRA explained the lack of falsity as follows:

           Although Plaintiffs point to specific expenditures of which they apparently do
           not approve, the vast majority of the NRA’s expenditures are not alleged to fall
           without Plaintiff’s definition of the “NRA’s core mission.” Of course, there can
           be no dispute that the NRA spends its funds on gun safety education, promotion
           of shooting sports and hunter safety, wildlife conservation, and Second
           Amendment advocacy. Moreover, though Plaintiffs may disagree with the
           NRA’s expenditures, simply declaring certain areas of spending not within the
           NRA’s core mission (or deciding how best to achieve the goals of that mission)
           is not Plaintiff’s prerogative. The NRA’s decision to devote certain resources as
           it determines in its business judgment are appropriate is not actionable in fraud
           simply because Plaintiff’s disagree with certain isolated expenditures.

           However, even putting aside what constitutes expenditure that fit within the
           “NRA’s core mission,” the NRA’s statements cited by Plaintiffs are
           unquestionably true. Not a single Solicitation alleged by Plaintiffs states that
           donated funds will be exclusively (or even mostly) used to fund the “NRA’s core
           mission.”

  (Doc. No. 49 at 11-12).

         The NRA next argues that Plaintiffs did not allege “in more than a passing conclusory

  assertion that the NRA knew of and intended the falsity of its statements.” (Id. at 12). The NRA

  argues that because the statements regarding the use of funds relate to the promise of some future

  action, Plaintiffs must allege that the NRA had no present intent to carry out the promise. The

  NRA further argues that Plaintiffs cannot plead the element of intent for “any future expenditures

  that were not in contemplation at the time of the Solicitation.” In other words, the NRA argues

  that if, at the time of the solicitation, it did not specifically plan to spend money on, for example

  personal expenses of Wayne LaPierre, there can be no plausible allegation of intent with regard to

  that expenditure.

         The Court declines to read the intent requirement so narrowly. First, Plaintiffs allege that

  the funds were spent on things that were not in furtherance of the mission of the NRA. It was not

  necessary that the NRA know at the time what the extraneous expenditures would be, only that

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  they knew that money would be spent outside the mission. Moreover, Rule 9(b) allows the element

  of intent to be alleged generally. See Fed. R. Civ. P. 9(b). Given the extent of the alleged misspent

  funds – in both duration and volume – the Court finds Plaintiffs’ allegation that the NRA knew

  donated funds would not be used to advance the mission of the NRA sufficiently plausible to state

  a claim. (Doc. No. 43, ¶ 75).

         The NRA also argues that Plaintiffs have not sufficiently pleaded reasonable reliance. This

  argument is a restatement of the falsity argument. Essentially, the NRA asserts that Plaintiffs could

  not have reasonably relied on statements indicating that the NRA would use funds to advance the

  NRA’s mission because the NRA never claimed all of the funds would be used to advance the

  mission of the NRA and at most provide only a “remote indication of how funds may be used” by

  stating that the funds will be used to “help” or “advance” the NRA’s goals. They argue Plaintiffs’

  allegation of reasonable reliance on statements regarding how funds would be spent was

  insufficient because “all nonprofits have expenditures to which, in the business judgment of

  management, they must devote resources in order to function.” (Doc. No. 49 at 12). As discussed

  above, statements that the funds would be used to advance the mission of the NRA renders

  Plaintiffs allegation of reasonable reliance plausible.

         Finally, the NRA argues Plaintiffs’ alleged injury can amount to only “a very small sum.”

  It is not clear whether the NRA is arguing that the only potential injury is the portion of money

  that was allegedly misused or whether the NRA views Plaintiffs’ entire donations as “a very small

  sum.” In either case, while the value of the alleged injury may be disputed, the NRA does not

  dispute that Plaintiffs have pleaded some injury. An allegation of some injury is all that is required

  to plead this element of the claim.




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           At this juncture in the litigation, making all inferences in the light most favorable to the

  Plaintiffs, the Court finds Plaintiffs have sufficiently alleged a claim for fraud against the NRA.

  Although the Court will not engage in a statement by statement review of the allegations, it bears

  noting that many of the statements cited by Plaintiffs do not make any representations regarding

  the use of donor funds. However, because some of them do, and Plaintiffs have alleged the

  remaining elements of the claim, the Court will deny the NRA’s motion to dismiss the claim for

  fraud.

           3. Wayne LaPierre

           Plaintiffs allege that LaPierre, as CEO of the NRA, made numerous personal appeals to

  individual donors and to the NRA donor base as a whole imploring them to renew membership or

  join the NRA while knowing that the donated funds would not be used entirely to fund the mission

  of the NRA because some portion of the funds was being used to pay for personal expenses for

  himself and his family, including clothing, luxury travel, hair and makeup, and private jets. (Doc.

  No. 43, ¶¶ 25-26, 32, 69-86).

           As stated above, Plaintiffs’ general allegations of “solicitation” without reference to any

  specific communications do not meet the pleading requirements of Rule 9(b) and will not be

  considered as a basis for a fraud claim. Plaintiffs identify only a single specific communication

  from LaPierre during the applicable time period. On July 3, 2018, LaPierre sent a personal letter

  to Dell’Aquila, that stated, “Your leadership inspires so many to stand up and fight for the values

  we hold dear.” (Id. at ¶ 32). Plaintiffs allege this letter intended to solicit additional donations to

  the NRA and the NRA Foundation. (Id.). On its face, this statement does not solicit donations or

  make any representations as to how donated funds will be spent. Even making all inferences in




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  favor of the Plaintiffs, the Court cannot find that this letter contains a false statement that could

  give rise to a claim for fraud.

         Plaintiffs also allege LaPierre “uses his position with the NRA to encourage donations to

  both the NRA and to the NRA Foundation.” (Doc. No. 43 at ¶ 25). Plaintiffs cite emails from

  LaPierre on July 21, 2014, and July 18, 2019, that encouraged members to upgrade or extend their

  memberships. (Id. at ¶¶ 25, 26). However, neither of these statements was made within the time

  period applicable to this case and the Court will not consider them as a basis for a fraud claim.

  Even if Plaintiffs intended that these statements serve as examples of emails LaPierre sent to the

  membership during the applicable time period – a connection Plaintiffs do not make – the

  messages themselves do not contain any statements about how membership dues will be spent.

         Accordingly, the claim for fraud against Wayne LaPierre will be dismissed.

  C. RICO

         “To prevent organized crime from ‘obtaining a foothold in legitimate business,’ Congress

  created a civil cause of action for RICO violations.” In re ClassicStar Mare Lease Litig., 727 F.3d

  473, 483 (6th Cir. 2013). RICO, 18 U.S.C. § 1961, et seq., provides that it shall be unlawful for

  any person employed by or associated with any enterprise engaged in interstate or foreign

  commerce to conduct or participate in the conduct of such enterprise’s affairs through a pattern of

  racketeering activity. 18 U.S.C. § 1962(c). To state a claim under the statute, a plaintiff must plead

  (1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity. ClassicStar, 727

  F.3d at 483. Defendants argue Plaintiffs’ RICO claim fails to plead facts to show the existence of

  a RICO enterprise or establish any predicate act of racketeering activity.




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          1. Enterprise

          A RICO “enterprise” is a group of persons associated together for a common purpose of

  engaging in a course of conduct. Shields v. Umumprovident Corp., 2011 WL 924724, at * 4 (6th

  Cir. Mar. 17, 2011). An enterprise can be an individual, partnership, corporation, association or

  other legal entity, and any union or group of individuals associated in fact though not a legal entity.

  18 U.S.C. § 1961(4). “The enterprise itself is not liable for RICO violations; rather the ‘persons’

  who conduct the affairs of the enterprise through a pattern of racketeering activity are liable.”

  ClassicStar, 727 F.3d at 490 (citing U.S. v. Phillip Morris USA, Inc. 566 F.3d 1095, 1111 (D.C.

  Cir. 2009). To establish liability under § 1962(c), a plaintiff ‘must allege and prove the existence

  of two distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is not simply the same ‘person’

  referred to by a different name.” Id. (citing Cedric Kushner Promotions, Ltd. v. King, 533 U.S.

  158, 161 (2001)). “Under RICO, a corporation cannot be both the ‘enterprise’ and the ‘person’

  conducting or participating in affairs of that enterprise.” Id. (citing Begala v. PNC Bank, Ohio,

  N.A., 214 F.3d 776, 781 (6th Cir. 2000)).

          Plaintiffs allege that the NRA is an enterprise engaged in interstate commerce. 4 (See Doc.

  No. 43 at ¶¶ 97, 111). Accordingly, because the NRA cannot be both an enterprise and a person

  for purposes of RICO liability, the RICO claims against the NRA must be dismissed.




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           Plaintiffs allegations of enterprise vary slightly between the two claims. With regard to the RICO
  claim against LaPierre and the NRA that “Defendant LaPierre is employed by the NRA, which is an
  enterprise engaged in interstate commerce. Defendant NRA is associated with Defendant NRA Foundation,
  which is an enterprise engaged in interstate commerce.” The RICO claim against LaPierre and the NRA
  Foundation alleges only that the NRA is an enterprise: “Defendant LaPierre is employed by the NRA, which
  is an enterprise engaged in interstate commerce. Defendant NRA Foundation is associated with the NRA,
  which is an enterprise engaged in interstate commerce.” (Doc. No. 43, ¶¶ 97, 111).

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          2. Racketeering Activity

          “Racketeering activity” is defined under the statute as one of a number of predicate acts,

  including, as alleged here, mail fraud. See 18 U.S.C. § 1961(1). Mail fraud consists of “(1) a

  scheme or artifice to defraud; (2) use of the mails … in furtherance of the scheme; and (3) intent

  to deprive the victim of money or property.” Slorp v. Lerner, Sampson & Rothfuss, 587 F. App’x

  249, 264 (6th Cir. 2014). Plaintiffs alleging RICO violations based on mail fraud must “meet the

  more rigorous pleading standards of Rule 9(b) with respect to their claims based on fraud.”

  Heinrich v. Waiting Angels Adoption Svcs., Inc., 668 F.3d 393, 403 (6th Cir. 2012). The plaintiffs

  must, at a minimum, “allege the time, place, and content of the alleged misrepresentation on which

  [they] relied; the fraudulent scheme; and the injury resulting from the fraud.” Id. (citing United

  States ex rel. Bledsoe v. Cmty. Health Sys., Inc., 342 F.3d 634, 643 (6th Cir. 2003). “When pleading

  predicates acts of mail fraud, in order to satisfy the heightened pleading requirements of Rule 9(b),

  a plaintiff must ‘(1) specify the statements that the plaintiff contends were fraudulent, (2) identify

  the speaker, (3) state where and when the statements were made, and (4) explain why the

  statements were fraudulent.’” Id. at 404. A RICO plaintiff is not required to plead reliance on an

  allegedly false statement. Id. (citing Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 648

  (2008). Plaintiff must show that the predicate act was the proximate cause of plaintiff’s injuries.

  Id. at 405.

          As stated above with regard to the fraud claims against the NRA Foundation and Wayne

  LaPierre, Plaintiffs have failed to adequately plead a fraudulent misrepresentation. For purposes

  of the RICO claims against the Foundation and LaPierre, this means that they cannot establish the

  predicate act necessary to state a RICO violation. Accordingly, Plaintiffs’ RICO claims against

  LaPierre and the NRA Foundation.



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                                    IV.    CONCLUSION

         For the reasons stated, the motions to dismiss are resolved as follows: the NRA

  Foundation’s Motion to Dismiss (Doc. No. 46) is GRANTED; Wayne LaPierre’s Motion to

  Dismiss (Doc. No. 50) is GRANTED; and the NRA’s Motion to Dismiss is GRANTED as to the

  RICO claim, and DENIED as to the fraud claim. An appropriate Order will enter.




                                                   ____________________________________
                                                   WILLIAM L. CAMPBELL, JR.
                                                   UNITED STATES DISTRICT JUDGE




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